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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 22-CR-20104-JEM{s){s){s)


     UNITED STATES OF AMERICA

     vs.

     RODOLPHE JAAR,

            Defendant.
     - - - - - - - - -- - - - - - - - - -I
                                           PLEA AGREEMENT

            The United States Attorney ' s Office for the Southern District of Florida ("this Office") and

     RODOLPHE JAAR (hereinafter referred to as the " defendant") enter into the following

     agreement:

             1.     The defendant agrees to plead guilty to Count One, Count Two and Count Three of

     the Third Superseding Indictment, which counts charge that

                    (a) beginning in or around February of 2021 , and continuing through on or about

     July 7, 2021 , in the Southern District of Florida and in a place outside the United States, including

     Haiti and elsewhere, the defendant did knowingly combine, conspire, confederate, and agree with

     other persons known and unknown to the Grand Jury, to provide material support and resources,

     as defined in Title 18, United States Code, Section 2339A(b), that is, personnel , including

     themselves, and services, knowing and intending that they be used in preparation for, and in

     carrying out, a violation of Title 18, United States Code, Section 956(a)(l ), that is, a conspiracy to

     kill and kidnap a person outside of the United States, and on July 7, 2021 , the death of President

     Jovenel Moise resulted ; all in violation of Title 18, United States Code, Sections 2339A(a) and 2.

                    (b) from in or about June 2021 to in or about July 7, 2021 , in a place outside the

     United States, including Haiti and elsewhere, the defendant did knowingly and willfully provide
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     material support and resources, specifically personnel , including himself, and services, knowing

     and intending that they be used in preparation for, and in carrying out a conspiracy to kill and

     kidnap a person outside of the United States, and the death of President Jovenel Moise resulted, in

     violation of Title 18, United States Code, Sections 2339A(a) and 2; and

                    (c) from in or around June 2021 to in or about July 7, 2021, in Miami-Dade County,

     in the Southern District of Florida, and in a place outside of the United States, including Haiti and

     elsewhere, the defendant and other persons, at least one of whom having been within the

     jurisdiction of the United States, did knowingly and intentionally combine, conspire, confederate,

     and agree together and with each other, to commit at a place outside the United States, acts that

     would constitute murder and kidnapping if these crimes were committed in the special maritime

     and territorial jurisdiction of the United States, that is, the murder and kidnapping of the President

     of Haiti Jovenel Moise, and one or more conspirators did commit one or more acts within the

     jurisdiction of the United States, to effect the purpose and object of the conspiracy, in violation of

     Title 18, United States Code, Section 956(a)(l ).

             2.     The defendant is aware that the sentence will be imposed by the Court after

     considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

     " Sentencing Guidelines").    The defendant acknowledges and understands that the Court will

     compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

     will be determined by the Court relying in part on the results of a pre-sentence investigation by the

     Court' s probation office, which investigation will commence after the guilty plea has been entered.

     The defendant is also aware that, under certain circumstances, the Court may depart from the

     advisory Sentencing Guidelines range that it has computed, and may raise or lower that advisory


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     sentence under the Sentencing Guidelines . The defendant is further aware and understands that

     the Court is required to consider the advi sory guideline range determined under the Sentencing

     Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted

     to tailor the ultimate sentence in li ght of other statutory concerns, and such sentence may be either

     more severe or less severe than the Sentencing Guidelines ' adv isory range.     Knowing these facts ,

     the defendant understands and acknowledges that the Court has the authority to impose any

     sentence within and up to the statutory maximum authorized by law for the offenses identified in

     paragraph 1 and that the defendant may not w ithd raw the plea solely as a result of the sentence

     imposed.

                3.        The defendant a lso understands and acknowledges that, as to Count One, Count

     Two, and Count Three, the Court may impose a statutory maximum term of imprisonment of up

     to life imprisonment, fol lowed by a term of supervised release of up to a lifetime of supervised

     release.        In addit ion to a term of impri sonment and supervised release, the Court may impose a

     fine of up to $250,000. The Court may al so impose that the sentences on Counts One, Two, and

     Three run consecuti vely.

                4.        The defendant further understands and acknowledges that, in add ition to any

     sentence imposed under paragraph 3 of this agreement, a special assessment in the amount of $300

     wi ll be imposed on the defendant.         The defendant agrees that any special assessment imposed

     shall be paid at the time of sentencing. If the defendant is financially unable to pay the special

     assessment, the defendant agrees to present evidence to this Office and the Court at the time of

     sentencing as to the reasons for the defendant ' s failure to pay.




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             5.      This Office reserves the right to inform the Court and the probation office of all

     facts pertinent to the sentencing process, including all relevant information concerning the offenses

     committed, whether charged or not, as well as concerning the defendant and the defendant' s

     background. Subject on ly to the express terms of any agreed-upon sentenci ng recommendations

     contained in this agreement, this Office further reserves the right to make any recommendation as

     to the quality and quantity of punishment.

             6.      This Office and the Defendant agree that, although not binding on the probation

     office or the Court, they will jointl y recommend that the Court find that the applicable adjusted

     offense level under all of the circumstances of the offenses committed by the Defendant, and prior

     to the app lication of any reductions under Section 3E I. I of the Sentencing Guidelines, is Level

     45.

             7.      This Office agrees that it will recommend at sentencing that the Court reduce by

     two levels the Sentenci ng Guide lines level app licable to the defendant's offense, pursuant to

     Section 3E 1.1 (a) of the Sentencing Guidelines, based upon the defendant's recognition and

     affirmative and timely acceptance of personal responsibility.         If at the time of sentencing the

     defendant' s offense leve l is determined to be 16 or greater, this Office wi ll file a motion requesting

     an additional one level decrease pursuant to Section 3E 1.1(b) of the Sentencing Guidelines, stating

     that the defendant has assisted authorities in the investigation or prosecution of the defendant' s

     own misconduct by timely notifying authorities of the defendant' s intention to enter a plea of

     guilty, thereby permitting the government to avoid preparing for trial and permitting the

     government and the Court to al locate their resources efficiently. Th is Office, however, w ill not

     be required to make this motion and this recommendation if the defendant: (I) fails or refuses to


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     make a full, accurate and complete disclosure to the probation office of the circumstances

     surrounding the relevant offense conduct; (2) is found to have misrepresented facts to the

     government prior to entering into this plea agreement; or (3) commits any misconduct after

     entering into this plea agreement, including but not limited to committing a state or federal offense,

     violating any term of release, or making false statements or misrepresentations to any

     governmental entity or official.

            8.      The defendant is aware that the sentence has not yet been determined by the Court.

     The defendant also is aware that any estimate of the probable sentencing range or sentence that the

     defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

     the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

     office or the Court. The defendant understands further that any recommendation that this Office

     makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

     on the Court and the Court may disregard the recommendation in its entirety. The defendant

     understands and acknowledges, as previously acknow ledged in paragraph 2 above, that the

     defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

     recommendation made by the defendant, this Office, or a recommendation made jointly by the

     defendant and this Office.

             9.     The defendant agrees that he sha ll cooperate fully with this Office by: (a) providing

     truthful and complete information and testimony, and producing documents, records and other

     evidence, when called upon by this Office, whether in interviews, before a grand jury, or at any

     trial or other proceedings; (b) appearing at such grand jury proceedings, hearings, trials, and other

     judicial proceedings, and at meetings, as may be required by this Office; and (c) if requested by


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     this Office, working in an undercover role under the supervision of, and in compliance with, law

     enforcement officers and agents.     In addition, the defendant agrees that he will not protect any

     person or entity through false information or omission, that he will not falsely implicate any person

     or entity, and that he that he will not commit any further crimes.

             I 0.   This Office reserves the right to evaluate the nature and extent of the defendant' s

     cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

     sentencing. If in the sole and unreviewable judgment of this Office the defendant ' s cooperation

     is of such quality and significance to the investigation or prosecution of other criminal matters as

     to warrant the Court' s downward departure from the advisory sentencing range calculated under

     the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

     make a motion prior to sentencing pursuant to Section SK 1.1 of the Sentencing Guidelines and/or

     Title I 8, United States Code, Section 3553( e), or subsequent to sentencing pursuant to Rule 35 of

     the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided

     substantial assistance and recommending that the defendant' s sentence be reduced.                 The

     defendant understands and agrees, however, that nothing in this agreement requires this Office to

     file any such motions, and that this Office ' s assessment of the quality and significance of the

     defendant' s cooperation shall be binding as it relates to the appropriateness of this Office' s filing

     or non-filing of a motion to reduce sentence.

             11.    The defendant understands and acknowledges that the Court is under no obligation

     to grant a motion for reduction of sentence filed by this Office.    In addition, the defendant further

     understands and acknowledges that the Court is under no obligation of any type to reduce the

     defendant' s sentence because of the defendant' s cooperation.


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             12.    It is understood that should the defendant knowingly provide incomplete or

     untruthful testimony, statements, or information pursuant to this agreement, or should the

     defendant falsely implicate or incriminate any person, or should the defendant fail to voluntarily

     and unreservedly disclose and provide full , complete, truthful, and honest knowledge, information,

     and cooperation regarding any of the matters noted herein, the following conditions shall apply:

                    (a)     The defendant may be prosecuted for any perjury or false declarations, if

     any, committed while testifying pursuant to this agreement, or for obstruction of justice.

                    (b)     The government may use against the defendant the defendant' s own

     admissions and statements and the information and books, papers, documents, and objects that the

     defendant has furnished in the course of the defendant's cooperation with the governrnent.

                    (c)     The defendant will not be permitted to withdraw the guilty pleas to those

     counts to which defendant hereby agrees to plead in the instant case.

            13.     The defendant is aware that Title 28, United States Code, Section 1291 and Title

     18, United States Code, Section 3742 afford the defendant the right to appeal the sentence imposed

     in this case. Acknowledging this, in exchange for the undertakings made by the United States in

     this plea agreement, the defendant hereby waives all rights conferred by Sections 1291 and 3742

     to appeal any sentence imposed, including any restitution order, or to appeal the manner in which

     the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

     result of an upward departure and/or an upward variance from the advisory guideline range that

     the Court establishes at sentencing.     The defendant further understands that nothing in this

     agreement shall affect the government' s right and/or duty to appeal as set forth in Title 18, United

     States Code, Section 3742(b) and Title 28 , United States Code, Section 1291. However, if the


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     United States appeals the defendant's sentence pursuant to Sections 3742(b) and 1291 , the

     defendant shall be released from the above waiver of his right to appeal his sentence.             The

     defendant further hereby waives all rights conferred by Title 28, United States Code, Section 1291

     to assert any claim that (1) the statute(s) to which the defendant is pleading guilty is/are

     unconstitutional; and/or (2) the admitted conduct does not fall within the scope of the statute(s) of

     conviction.   By signing this agreement, the defendant acknowledges that the defendant has

     discussed the appeal waiver set forth in this agreement with the defendant' s attorney.            The

     defendant further agrees, together with this Office, to request that the Court enter a specific finding

     that the defendant's waiver of his right to appeal the sentence imposed in this case and his right to

     appeal his conviction in the manner described above was knowing and voluntary.

             14.    The defendant agrees, in an individual and any other capacity, to forfeit to the

     United States, vo luntari ly and immediately, any right, title, and interest to all assets, foreign or

     domestic, (i) of any individual , entity, or organization engaged in planning or perpetrating any

     Federal crime of terrori sm (as defined in section 2332b(g)(5)) against the United States, citizens

     or residents of the United States, or their property, and all assets, foreign or domestic, affording

     any person a source of influence over any such entity or organization; (ii) acquired or maintained

     by any person with the intent and for the purpose of supporting, planning, conducting, or

     concealing any Federal crime of terrorism (as defined in section 2332b(g)(5) against the United

     States, citizens or residents of the United States, or their property; (iii) derived from , involved in,

     or used or intended to be used to commit any Federal crime of terrorism (as defined in section

     2332b(g)(5)) against the United States, citizens or residents of the United States, or their property;

     or (iv) of any individual , entity, or organization engaged in planning or perpetrating any act of


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     international terrorism (as defined in section 2331) against any international organization (as

     defined in section 209 of the State Department Basic Authorities Act of 1956 (22 U.S.C. 4309(b))

     or against any foreign Government, pursuant to 18 U.S.C. § 98l(a)(l)(G), as incorporated by 28

     U.S.C. § 246l(c), and the provisions of 21 U.S .C. § 853. In addition, the defendant agrees to

     forfeiture of substitute property pursuant to 21 U.S.C. § 853(p).

             15.    The defendant further agrees that forfeiture is independent of any assessment, fine,

     cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

     voluntarily agrees to waive all constitutional, legal, and equitable defenses to the forfeiture,

     including excessive fines under the Eighth Amendment to the United States Constitution. In

     addition, the defendant agrees to waive: any applicable time limits for administrative or judicial

     forfeiture proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the

     forfeiture.

             16.    The defendant also agrees to fully and truthfully disclose the existence, nature and

     location of all assets in which the defendant has or had any direct or indirect financial interest or

     control, and any assets involved in the offenses of conviction . The defendant agrees to take all

     steps requested by the United States for the recovery and forfeiture of all assets identified by the

     United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon

     request of all necessary and appropriate documentation to deliver good and marketable title,

     consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,

     civil or administrative forfeiture proceed ing concerning the forfeiture.

             17.    The Defendant also agrees to assist this Office in all proceedings, whether

     administrative or judicial, involving the forfe iture to the United States of all rights, title, and


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      interest, regardless of their nature or form, in all assets, including real and personal property, cash

      and other monetary instruments, wherever located, which the Defendant or others to the

      Defendant's knowledge have accumulated as a result of illegal activities. Such assistance will

      involve the Defendant's agreement to the entry of an order enjoining the transfer or encumbrance

      of assets that may be identified as being subject to forfeiture, including but not limited to those

      specific real and personal properties set forth in the forfeiture counts of the Second Superseding

      Indictment. Additionally, the Defendant agrees to identify as being subject to forfeiture all such

      assets, and to assist in the transfer of such property to the United States by delivery to this Office

      upon this Office's request, all necessary and appropriate documentation with respect to said assets,

      including consents to forfeiture, quit claim deeds and any and all other documents necessary to

      deliver good and marketable title to said property.

              18.    The Defendant knowingly and voluntarily agrees to waive any claim or defense the

      Defendant may have under the Eighth Amendment to the United States Constitution, including

      any claim of excessive fine or penalty with respect to the forfeited assets.

              19.    The defendant recognizes that pleading guilty may have consequences with respect

      to the defendant's immigration status if the defendant is not a citizen of the United States. Under

      federal law, a broad range of crimes are removable offenses, including the offenses to which the

      defendant is pleading guilty.     Indeed, because the defendant is pleading guilty to providing

      material support in relation to a conspiracy to kill or kidnap, removal is presumptively mandatory.

      The defendant knowingly and voluntarily consents to removal from the United States following

      completion of his sentence, waives any rights relating to any and all forms of relief from removal

      or exclusion, agrees to abandon any pending applications for such relief, and agrees to cooperate


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      with the Department of Homeland Security during removal proceedings.

              20.   This is the entire agreement and understanding between this Office and the

      defendant. There are no other agreements, promises, representations, or understandings and this

      agreement supersedes any prior agreements, includi ng any Kastigar letter agreements entered.


                                                  MARKENZY LAPOINTE
                                                  UNITED ST ATES ATTORNEY


      Date:   '3 /z_4 / ;z_3               By:    ~1~
                                                  ANDREA GOLDBARG
                                                  ASSISTANT U.S. ATTORNEY


      Date:                                By:    ~ ~
                                                 ~ T Z , ESQ.
                                                 ATTORNEY FOR DEFENDANT


      Date:   s/4 y/Z--fJ
                I     I
                             L)            By:
                                                     OLPHEJAAR
                                                  DEFENDANT




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